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IN THE UNITED sTATEs DISTRICT coURT '
FOR THE wESTERN DISTRICT oF TENNESSEE 05

WESTERN DIvIsIoN JUL 20 H "’ 33

 

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UNITED sTATEs oF AMERICA '§WB%ESYE§YHB
vs. cR. No. 04-20498-Ma

RONALD JONES ,

Defendant.

 

ORDER ON CON'I‘INUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

Before the court is defendant's July 18, 2005, motion
requesting Continuance of the report date set July 22, 2005. For
good cause shown, the motion is granted. Defendant’s motion to
suppress is set for hearing on August 2, 2005, and the parties will
report at that time.

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IT IS SO ORDERED this the day of July, 2005.

JA/”’/L-\

SAMUEL H. MAYS, JR.
UNITED STATES DIS'I‘RICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
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Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

